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                         Exhibit 1

           Schedule of Professional Compensation
                                                         Professional Compensation for the period from
                                                    October 1, 2023,through and including December 31, 2023

                                         Compensation
                                                                                      Expenses            Agreed              Agreed           Interim Fees         Interim Expenses
          APPLICANT                          Period      Fees Requested
                                                                                      Requested          Reductions         Reductions          Approved                Approved
                                        (Interim Period)
                                                                                                           (Fees)           (Expenses)
          KPMG LLP                           10/1/23 –            $87,815.20              $0.00             $0.00              $0.00             $87,815.20                 $0.00
 (Audit Services Provider to the             12/31/23
            Debtors)
        [Docket No. 961]
     Silverman Consulting                    10/1/23 –            $590,997.00          $29,630.69             $0.00              $0.00          $590,997.00              $29,630.69
  (Restructuring Advisors to the             12/31/23
                                                                                                                                                                                       Case 23-10831-MFW




            Debtors)
        [Docket No. 974]
 Womble Bond Dickinson (US)                  10/1/23 –            $238,424.50            $76.30               $0.00              $0.00          $238,424.50                $76.30
               LLP                           12/31/23
   (Co-Counsel to the Debtors)
        [Docket No. 976]
                                                                                                                                                                                       Doc 1090-1




       Huron Consulting                       10/1/23-            $404,725.00            $67.20               $0.00              $0.00          $404,725.00                $67.20
          Group., Inc.                        12/31/23
(Financial Advisor to the Official
    Committee of Unsecured
            Creditors)
        [Docket No. 977]
      Brown Rudnick LLP                       9/7/23 –          $1,906,541.001         $15,858.79             $0.00              $0.00         $1,906,541.00             $15,858.79
                                                                                                                                                                                       Filed 03/12/24




     (Counsel to the Official                 12/31/23
  Committee of Equity Security
            Holders)
        [Docket No. 981]
                                                                                                                                                                                       Page 2 of 3




      1    Reflects Brown Rudnick’s voluntary reduction of $1,531.00 from the First Monthly Fee Application of Brown Rudnick LLP, as Counsel for the Official Committee of Equity
           Security Holders of Lordstown Motors Corp., et al., for Allowance of Interim Compensation and for Reimbursement of Disbursements Incurred for the Period from September
           7, 2023 through September 30, 2023. See Docket No. 749.
                                      Compensation
                                                                       Expenses      Agreed        Agreed     Interim Fees    Interim Expenses
        APPLICANT                         Period      Fees Requested
                                                                       Requested    Reductions   Reductions    Approved           Approved
                                     (Interim Period)
                                                                                      (Fees)     (Expenses)
       Morris James LLP                  9/7/23 –       $271,950.50     $4,454.51      $0.00        $0.00      $271,950.50        $4,454.51
(Delaware Counsel to the Official        12/31/23
  Committee of Equity Security
             Holders)
        [Docket No. 982]
 Kurtzman Carson Consultants             10/1/23 –      $31,384.14       $0.00         $0.00        $0.00      $31,384.14           $0.00
  (Administrative Advisor to the         12/31/23
             Debtors)
        [Docket No. 983]
                                                                                                                                                 Case 23-10831-MFW




   M3 Advisory Partners, L.P.             9/7/23-       $775,833.50     $8,705.24      $0.00        $0.00      $775,833.50        $8,705.24
(Financial Advisor to the Official       12/31/23
  Committee of Equity Security
             Holders)
        [Docket No. 984]
       Baker & Hostetler                 10/1/23 –     $264,801.65     $3,018.81       $0.00        $0.00     $264,801.65         $3,018.81
                                                                                                                                                 Doc 1090-1




(Special Litigation Counsel to the       12/31/23
             Debtors)
        [Docket No. 985]
         Jefferies LLC                   10/1/23 –    $2,200,000.00    $22,686.07      $0.00        $0.00     $2,200,000.00      $22,686.07
    (Investment Banker to the            12/31/23
             Debtors)
        [Docket No. 986]
                                                                                                                                                 Filed 03/12/24




       White & Case LLP                  10/1/23 –    $3,336,354.00    $8,408.06       $0.00        $0.00     $3,336,354.00       $8,408.06
     (Counsel to the Debtors)            12/31/23
        [Docket No. 987]
                      TOTALS                           $8,114,470.29   $92,905.67      $0.00        $0.00     $8,114,470.29      $92,905.67
                                                                                                                                                 Page 3 of 3




                                                                          2

      WBD (US) 4893-5386-6409v2
